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5
6    Attorney for Defendant
     TOMMY LY
7
8
9                         IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )       No. CR. S-07-0059 LKK
                                     )
13                  Plaintiff,       )
                                     )       STIPULATION AND ORDER
14        v.                         )       MODIFYING PRETRIAL RELEASE
                                     )       CONDITIONS
15   VAN HUNG VI et al.,             )
                                     )
16                  Defendants.      )       Judge: Hon. Lawrence K. Karlton
     _______________________________ )
17
18
19        It is hereby stipulated and agreed between plaintiff, United States
20   of America, and defendants Van Hy Vi, Van Dat Vi, Ivy Jung Tran, and
21   Tommy Ly, through their respective attorneys, that the condition of
22   pretrial release prohibiting defendants Van Hy Vi, Van Dat Vi, Ivy Jung
23   Tran, and Tommy Ly, from having contact with one another while on
24   pretrial release may be vacated.        Defendant Van Hung Vi, who remains in
25   pretrial detention, is not included in this modification.
26   /////
27   /////
28   /////
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1          Defendants Van Hy Vi, Van Dat Vi, and Tommy Ly are related to one
2    another.     They seek this modification at the recommendation of their
3    Pretrial Services Officers.
4                                        Respectfully submitted,
5                                        DANIEL J. BRODERICK
                                         Federal Defender
6
7    Dated:     January 19, 2008         /s/ T. Zindel
                                         TIMOTHY ZINDEL
8                                        Assistant Federal Defender
                                         Attorney for TOMMY LY
9
10   Dated:     January 19, 2008         /s/ T. Zindel for D. Rappaport
                                         DOUGLAS RAPPAPORT
11                                       Attorney for VAN HY VI
12   Dated:     January 19, 2008         /s/ T. Zindel for K. Daly
                                         KRESTA DALY
13                                       Attorney for VAN DAT VI
14   Dated:     January 19, 2008         /s/ T. Zindel for O. Figueroa
                                         OMAR FIGUEROA
15                                       Attorney for IVY JUNG TRAN
16                                       MCGREGOR SCOTT
                                         United States Attorney
17
18   Dated:     January 19, 2008         /s/ T. Zindel for M. Grad
                                         MARY GRAD
19                                       Assistant U.S. Attorney
                                         Attorney for Plaintiff
20
21                                        O R D E R
22         Defendant’s conditions of pretrial release are modified as set forth
23   above.
24         IT IS SO ORDERED.
25
26   DATED: 01/22/08                     /s/ Gregory G. Hollows
                                         United States Magistrate Judge
27
     vi.ord
28


     Stip. & Order                             2
